        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 1 of 38




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :     Case No. 21-cr-73 (BAH)
               v.                                      :
                                                       :
NICHOLAS DECARLO and                                   :
NICHOLAS OCHS,                                         :
                                                       :
                                                       :
                Defendants.                            :


 GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION TO VACATE THEIR
                CONVICTIONS UNDER 28 U.S.C. § 2255

       The United States of America, by and through its undersigned attorney, the United States

Attorney for the District of Columbia, respectfully submits this opposition to defendants Nicholas

DeCarlo and Nicholas Ochs’ motion to vacate their convictions under 28 U.S.C. § 2255 (ECF 112)

(“§ 2255”). This brief largely reiterates the arguments in the government’s previously filed

opposition to defendants’ request for relief pending adjudication of this motion (ECF 117), while

reflecting the legal standard applicable in this posture, expanding some portions of the factual

discussion, responding to points raised in defendants’ latest filing (ECF 118), and incorporating

the Court’s ruling denying defendants’ request for release (ECF 120). The government also

withdraws its earlier argument that the defendants’ motion fails because they cannot establish their

actual innocence under 18 U.S.C. § 1361 (because the defendants committed only a misdemeanor

violation of that statute)—although maintains that defendants have failed to carry their burden to

establish actual innocence under 18 U.S.C. §§ 111(b), 372, or the offense of conviction, 18 U.S.C.

§ 1512(c)(2) (“§ 1512(c)(2)”).

       Ochs, a senior Proud Boys leader, and DeCarlo, a former high-ranking Proud Boys

member, assaulted officers with smoke bombs, defaced the Capitol with graffiti declaring “Murder

the Media,” and stole a pair of flex cuffs. They enjoyed a smoke in the Crypt, waved rioters toward
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 2 of 38




Speaker Pelosi’s office—precipitating a violent confrontation with police—and filmed a self-

congratulatory video where they celebrated stopping Congress’s certification proceeding “when

we stormed the Capitol.” They planned their trip together, prepared for violence, moved together

throughout the day, coordinated with other Proud Boys, and celebrated together after.

       Ochs and DeCarlo each pled guilty to a single violation of 18 U.S.C. § 1512(c)(2) pursuant

to a plea agreement in which they admitted to committing all these acts and to intentionally

obstructing the certification of the Electoral College vote. In their plea agreements, the government

dismissed and agreed not to bring other charges against them, and the defendants agreed not to

appeal and not to collaterally attack their convictions.

       They now seek to set aside that bargain and wipe their slates clean because the Supreme

Court narrowed the meaning of § 1512(c)(2) in Fischer v. United States, 603 U.S. ___, 144 S. Ct.

2176, 2024 WL 3208034 (June 28, 2024). But in their plea agreements, they unambiguously

waived their right to file a § 2255 motion. At the time, legal challenges to § 1512(c)(2) were

ongoing, and the defendants had filed one such challenge themselves. In exchange for their guilty

plea to a single count, the government dismissed or did not bring several other charges of equal or

greater seriousness against them. That was the bargain these defendants struck: they chose to limit

their exposure and obtain finality rather than continue to press their case. Courts, including the

D.C. Circuit, have declined to undo such waivers based on arguments that the law later changed

or that the district court got the law wrong. They have recognized that enforcing such waivers

benefits both parties by allowing defendants to use their appellate and collateral review rights as

leverage and receive benefits in exchange. This Court should do the same.

       Even if the defendants could set aside their waivers, they still cannot prevail. Their § 2255

motion is procedurally defaulted (they filed no direct appeal and cannot establish cause), and they


                                                2
          Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 3 of 38




do not make the actual innocence showing required to overcome their default. This is so for two

independently sufficient reasons. First, the government forwent equally or more serious charges

against them in connection with the plea, such as assault charges for the smoke bombs they

admitted they threw. While the Court can stop there, these defendants also do not meet their burden

to show, based on all the evidence, that they are factually innocent under the post-Fischer §

1512(c)(2) standard: that there is no reasonable juror who would convict them of taking or

attempting to take some action to make a record, document, or other object (such as the electoral

vote certificates) unavailable or impair their integrity. The Court should reject the defendants’

motion.

                                        BACKGROUND

    I. The Defendants’ Conduct on January 6

       The defendants’ statements of offense and the government’s sentencing memoranda

describe the defendants’ conduct on January 6—which this Court has characterized as “egregious,”

ECF 120 at 1—and the government incorporates them by reference. See ECF 79 (DeCarlo

Statement of Offense); 82 (Ochs Statement of Offense); 1 93 (Gov’t Sent. Mem. as to DeCarlo)

(“DeCarlo Sent. Mem”); 94 (Gov’t Sent. Mem. as to Ochs) (“Ochs Sent. Mem.”); 101 (Gov’t

Reply Sent. Mem. as to DeCarlo).

       Ochs was an Elder, a member of the Proud Boys’ senior leadership counsel; DeCarlo was

a former third-degree Proud Boys member. ECF 82 ¶ 8. Ochs and DeCarlo ran a social media

platform called “Murder the Media,” which they used to offer political and social commentary.



1
  Ochs and DeCarlo’s Statements of Offense are nearly identical except for two paragraphs
providing some background information regarding each defendant and his travel to Washington,
D.C. (ECF 79 ¶ 8; ECF 82 ¶¶ 8-9). Each sentencing memorandum also contains substantial
overlapping information regarding the defendants’ joint conduct; the government generally does
not cite both sentencing memoranda for common points.
                                               3
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 4 of 38




Id. ¶ 19. Ochs had previously run for Hawaii’s House of Representatives, garnering Roger Stone’s

endorsement. CNN, Insurrection fueled by conspiracy groups, extremists, and fringe movements;

January 7, 2021, available at https://www.cnn.com/2021/01/07/us/insurrection-capitol-extremist-

groups-invs/index.html (interview of Ochs). They both referred to themselves as political

journalists. Id.; see also https://gogetfunding.com/nick-decarlo-defense-fund/ (DeCarlo defense

fundraiser describing him as a “reporter, journalist, and show host”).

        Ochs and DeCarlo planned to travel to Washington, D.C. for January 6 and, in various

communications on social media, expressed their belief that the election had been stolen and

prepared for violence. ECF 82 ¶ 9; ECF 93 at 3-4; ECF 94 at 3-11. Ochs also coordinated with

other members of the Proud Boys, at one point commenting that he and Ethan Nordean would be

senior leadership on the ground after Proud Boys chairman Enrique Tarrio was arrested. ECF 94

at 9.

        Ochs also made predictions about how the Supreme Court would address election-related

challenges. Id. at 6-7. In a twelve-person chat with other Proud Boys leaders, on November 7,

2020, the group reacted to Biden being declared the winner of the election, forecasting civil war.

Id. at 4. Ochs explained, “Bush/gore ruling took till December…Trump has a MUCH stronger

case.” Id. at 4. Ochs said, “Americans are weak and don’t want to fight. Them more so than us,

but what’s really going to matter to the common man is what the Supreme Court says. And it will

say.” Id. He reassured the others: “The odds are with us because of the Supreme Court boys. I’m

pro violence but don’t blow your load too soon.” Id. After another member referred to the

appointment of Justice Barrett, Ochs again discussed on the Supreme Court’s potential role in

deciding the election, while, at the same time, vowing violence if he was wrong: “Don’t fuck up

the ruling. It’s a better chance than fighting…I’ll still chimp out if I’m wrong about the Supreme


                                               4
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 5 of 38




Court tho…we just have to TIME IT RIGHT and DO IT SMART.” Id. at 5. He also noted in the

“Skull and Bones” chat that “Justice Alito already making demands in Pennsylvania” and

speculated how Chief Justice Roberts might vote. He commented, “Getting the state legislatures

to pick our Electors takes balls that most Americans don’t have,” and noted that Senator Romney

was supporting Biden. On Parler, Ochs recalled the 2016 election and posted a meme of Justice

Thomas. Id. at 5-6. The day that President Trump called his supporters to D.C. for January 6, Ochs

and other Proud Boys leaders discussed arranging a conference call. Id. at 7.

       Ochs and DeCarlo stayed together at a hotel on January 5 and, after attending President

Trump’s rally, went to the Capitol the following day together, filming throughout. See, e.g., ECF

79 at ¶¶ 8-18. As they drove to the Capitol, Ochs asked, “It’ll be like 3 in the afternoon when Mike

Pence fails?” ECF 94 at 11. DeCarlo also said, “Mike Pence is going to fail.” ECF 74 Ex. 1 at

1:01. At the Capitol, they laughed as they encountered downed fencing and violence on the West

Plaza. ECF 94 at 12-13. As the battle between rioters and police intensified, they joined in,

discussing how to deploy smoke grenades before launching them at the police. ECF 94 at 15-19;

ECF 79 ¶ 12; ECF 82 ¶ 13. After throwing his, DeCarlo exclaimed, ““Oh fuck, I just threw it

without pulling the pin. God damn it.” ECF 94 at 16. He then told Ochs, “yeah, pull the pin and

throw it.” ECF 74 Ex. 13 at 0:31-0:34. Ochs did so. ECF 82 ¶ 13; ECF 94 at 15-19. Filming the

huge crowd, DeCarlo asked, “Do you think they are scared in there?” ECF 94 at 29. Ochs replied,

“Yeah, and I fucking love it!” Id.

       Within ten minutes of the initial breach, they entered the Capitol. ECF 79 ¶ 13; ECF 82 ¶

14; After yelling “where’s Nancy?” in a singsong voice, they posed for pictures with celebratory

cigarettes in the Crypt. ECF 79 ¶ 14; ECF 82 ¶ 15; ECF 94 at 21-23. They encouraged and recorded

as rioters forced open a metal door that police had tried to close to seal off access to the Visitors’


                                                5
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 6 of 38




Center, which contained tunnels leading to other parts of the Capitol. ECF 79 ¶ 15; ECF 82 ¶ 16;

ECF 94 at 23. After reuniting with other Proud Boys, they entered the Rotunda, where they pointed

rioters toward Speaker Pelosi’s office. ECF 79 ¶ 16-17; ECF 82 ¶ 17-18; ECF 94 at 26-27. A

crowd soon formed and rushed at the police line guarding the area. ECF 94 at 27.

       When they left the Capitol Building at 3:00 p.m., their criminal activity did not stop. ECF

79 ¶ 17; ECF 82 ¶ 18; ECF 94 at 28. They wrote “Murder the Media” with a thick pen on the

Memorial Door of the Capitol. ECF 79 ¶ 18; ECF 82 ¶ 19; ECF 94 at 28-30. DeCarlo stole a pair

of flex cuffs from a Capitol Police bag. ECF 79 ¶ 19; ECF 82 ¶ 20. As they walked away from the

Capitol that day, Ochs said, “sorry we couldn’t go live when we stormed the fuckin’ U.S. Capitol

and made Congress flee,” and DeCarlo laughed and flashed a thumbs-up sign. ECF 79 ¶ 20; ECF

82 ¶ 22. And later that day, they filmed themselves reacting to the headline that “Congress stopped

the vote when we stormed the Capitol.” ECF 79 ¶ 21; ECF 82 ¶ 23. Their reaction: “as we’ve been

saying all day, we came here to stop the steal. Ochs said, “It may resume, but the steal is for now

stopped. You’re welcome, America!” to which DeCarlo replied “we did our job. We did our job.”

Id. DeCarlo later gave multiple interviews recounting what he had seen, celebrating what had

happened, minimizing his own conduct, and complaining about Vice President Pence and “half of

the Republicans” who were “not there for us.” ECF 93 at 22-30; ECF 101 at 1-2.

   II. Procedural Background

       The defendants were arrested in January 2021 and charged by indictment the next month

with conspiracy, in violation of 18 U.S.C. § 371 (with a § 1512(c)(2) object), obstruction of an

official proceeding, in violation of § 1512(c)(2), and five misdemeanor charges. ECF 17. DeCarlo

moved to dismiss the § 1512(c)(2) charge and the conspiracy charge. ECF 12. Ochs joined the

motion. ECF 56. The Court denied the motion. Jan. 21, 2022 Minute Entry. At the time, the


                                               6
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 7 of 38




application of § 1512(c)(2) to January 6 defendants was being heavily litigated across the district,

with multiple rounds of briefing in some cases and several district courts issuing lengthy opinions.

See, e.g., United States v. Montgomery, 578 F. Supp. 3d 54, 59 (D.D.C. 2021); United States v.

Caldwell, 581 F. Supp. 3d 1, 7 (D.D.C. 2021). In March, 2022, in decisions that became the subject

of the Supreme Court litigation that gave rise to defendants’ motion, Judge Nichols agreed with

arguments being raised by January 6 defendants, dismissed rioters’ § 1512(c)(2) charges, and

denied motions for reconsideration. See United States v. Miller, 589 F. Supp. 3d 60, 63 (D.D.C.),

reconsideration denied, 605 F. Supp. 3d 63 (D.D.C. 2022), and rev’d and remanded sub nom.

United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), cert. granted, 144 S. Ct. 537 (2023), and

vacated and remanded, 144 S. Ct. 2176 (2024), and cert. granted, judgment vacated sub nom.

Miller v. United States, No. 23-94, 2024 WL 3259658 (U.S. July 2, 2024), and cert. granted,

judgment vacated sub nom. Lang v. United States, No. 23-32, 2024 WL 3259659 (U.S. July 2,

2024); United States v. Fischer, No. 1:21-CR-00234 (CJN), 2022 WL 782413, at *1 (D.D.C. Mar.

15, 2022), rev’d and remanded, 64 F.4th 329 (D.C. Cir. 2023), cert. granted, 144 S. Ct. 537 (2023),

and vacated and remanded, 144 S. Ct. 2176 (2024).

       In this case, the grand jury returned a superseding indictment on February 18, 2022, that

removed a misdemeanor charge under 18 U.S.C. § 1752(a)(4). ECF 68. The Court set trial for

November 15, 2022, with pretrial motions due September 15. Feb. 23, 2022 Minute Order.

   A. Evidence of Additional Felony Conduct, Guilty Pleas, Waiver, and Sentencing

       The government began preparing for trial and, on May 12 and 13, 2022, disclosed videos

showing the defendants throwing objects at the police during the violent confrontation on the

Capitol’s West Front and discussing needing to “pull the pin” first. ECF 74 Ex. 13. The




                                                7
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 8 of 38




government explained that these videos were evidence of additional felony conduct by the

defendants, and plea negotiations began.

       The parties proceeded to negotiate an agreement in which the defendants agreed to plead

guilty to a violation of § 1512(c)(2), and the government agreed to dismiss the remaining charges

and not bring additional charges for the conduct described in the statement of offense (which

included defendants’ admission that they threw smoke bombs at police). Plea Agreement, ECF 77

(DeCarlo Plea Agreement), 81 (Ochs Plea Agreement) at ¶¶ 1 (agreements to plead guilty), 4

(agreements not to further prosecute); ECF 79 ¶ 12; ECF 82 ¶ 13 (smoke bomb admissions). Each

also admitted that he “attempted to or did obstruct or impede an official proceeding,” that he

“intended to obstruct or impede the official proceeding,” and that he acted “knowingly, with

awareness that the natural and probable effect of his conduct would be to obstruct or impede the

official proceeding,” and that he acted “corruptly.” ECF 79 ¶ 22; ECF 82 ¶ 24. The parties

calculated the offense level at 22 after credit for acceptance of responsibility. ECF 77, 81 ¶ 5(A).

Along with the plea agreement, the government submitted over 30 video exhibits supporting

defendants’ statements of offense. ECF 74.

       The plea agreements also included the following collateral attack waiver:

       Your client also waives any right to challenge the conviction entered or sentence imposed
       under this Agreement or otherwise attempt to modify or change the sentence or the manner
       in which it was determined in any collateral attack, including, but not limited to, a motion
       brought under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the
       extent such a motion is based on newly discovered evidence or on a claim that your client
       received ineffective assistance of counsel. Your client reserves the right to file a motion
       brought under 18 U.S.C. § 3582(c)(2).

ECF 77 ¶ 10(D), 81 ¶ 10(D). Each defendant signed the plea agreement and the statement of

offense. ECF 77 at 11, ECF 79 at 8, ECF 81 at 11, ECF 82 at 8. On September 9, 2022, the Court

conducted a colloquy with each defendant under oath and accepted defendants’ guilty pleas. Sept.


                                               8
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 9 of 38




9, 2022 Minute Entry; Plea Colloquy Tr. at 18:17–19:16, 27:11–27:24, Sept. 9, 2022, ECF 116.

During the colloquy, both defendants confirmed that they understood the collateral attack waivers.

Id. at 16:11-17:8.

       On December 9, 2022, the Court found that both defendants were in Criminal History

Category I and calculated a total offense level of 22, consistent with the parties’ plea agreements.

Sentencing Tr. at 9:20–10:12, Dec. 9, 2022, ECF No. 110 at 9:14–19, 10:8–12. The Court

sentenced the defendants to serve 48 months’ imprisonment, within their 41-51 month guidelines

range. Id. at 71:11–18, 76:4–10. The government dismissed the remaining counts of the

Superseding Indictment. Dec. 9, 2022 Minute Entry. Judgments issued the same day. ECF 106,

108. Neither defendant filed an appeal.

       According to the Bureau of Prisons’ website (https://www.bop.gov/inmateloc/), DeCarlo’s

current release date is October 9, 2025, and Ochs’ current release date is October 20, 2025.

   B. Fischer v. United States

       On June 28, 2024, the Supreme Court issued its decision in Fischer, narrowing

§ 1512(c)(2)’s application. It held that § 1512(c) does not cover “all means of obstructing,

influencing, or impeding any official proceeding.” 144 S. Ct. at 2185. However, the Court did not

reject the application of § 1512(c)(2) to January 6 prosecutions across the board. Rather, the Court

explained that the government must establish that the defendant impaired the availability or

integrity for use in an official proceeding of records, documents, objects, or other things used in

the proceeding – such as witness testimony or intangible information—or attempted to do so. Id.

at 2186, 2190. It remanded the case to the D.C. Circuit for further proceedings. Id. Since that time,

the government has endeavored to evaluate cases impacted by Fischer, including cases where

dismissal/vacatur is warranted as well as cases where trial/retrial on the charge is appropriate.


                                                9
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 10 of 38




       On July 9, 2024, the defendants moved to vacate their convictions under 28 U.S.C. § 2255,

citing Fischer. ECF 112. Their motion included a request for immediate release, which this Court

rejected, finding that they had demonstrated neither a substantial claim nor exceptional

circumstances. ECF 120.

                                      LEGAL STANDARD

       A defendant may move to vacate a sentence if he believes the sentence was imposed “in

violation of the Constitution or laws of the United States, or that the court was without jurisdiction

to impose such sentence, or that the sentence was in excess of the maximum authorized by law, or

is otherwise subject to collateral attack.” 28 U.S.C. § 2255. The relief contemplated by § 2255

“does not encompass all claimed errors in conviction and sentencing.” United States v. Addonizio,

442 U.S. 178, 185 (1979). “Because of the premium placed on the finality of judgments, there are

limited circumstances under which a court should grant a Section 2255 motion.” Bedewi v. United

States, 583 F. Supp. 2d 72, 76 (D.D.C. 2008) (internal quotation marks omitted).

       A defendant bears the burden of demonstrating that he is entitled to relief under § 2255.

See, e.g., United States v. Wright, 63 F. Supp. 3d 109, 115 (D.D.C. 2014); United States v. Bell,

65 F. Supp. 3d 229, 231 (D.D.C. 2014); In re Moore, 830 F.3d 1268, 1272 (11th Cir. 2016) (per

curiam) (collecting cases); Stanley v. United States, 827 F.3d 562, 566 (7th Cir. 2016). It is “well-

settled” that “to obtain collateral relief a prisoner must clear a significantly higher hurdle than

would exist on direct appeal.” United States v. Frady, 456 U.S. 152, 166 (1982); see also United

States v. Pollard, 959 F.2d 1011, 1020 (D.C. Cir. 1992). A judgment challenged on collateral

attack carries with it a “presumption of regularity,” “even when the question is waiver of

constitutional rights.” Daniels v. United States, 532 U.S. 374, 381 (2001) (internal quotation marks

omitted).


                                                10
       Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 11 of 38




                                          ARGUMENT

       Ignoring the fact that they admitted to throwing smoke bombs at the police (not to mention

defacing the Capitol and stealing property), Ochs and DeCarlo claim they “pled guilty because

they were physically present in the Capitol.” ECF 112 at 5. Their misleading depiction of this case

obscures the fact that Ochs and DeCarlo made a bargain—a bargain from which they benefited,

which allowed them to plead guilty to a single felony count, where the government dismissed

several charges in connection with the guilty plea and could have brought multiple other charges

against them. The defendants reached this bargain at a time when they D.C. Circuit and the

Supreme Court had not yet decided the scope of § 1512(c)(2), a statute they themselves had

challenged. Through their plea bargain—which they now wish to set aside—the parties allocated

the risk of the unknown: future charges by the government, and future developments in the law,

such as occurred with Fischer. The defendants unambiguously gave up the right to bring a

collateral attack, and the Court should enforce the parties’ bargain, as courts have done in similar

circumstances where a defendant tries to invalidate a plea by claiming the court informed him of

statutory requirements incorrectly because the law subsequently changed in his favor. On this basis

alone, the Court should deny defendants’ motion.

       Even if the Court declines to enforce the waiver, it should still deny defendants’ motion.

Defendants have no cause to excuse their procedural default, so they must establish “actual

innocence” under Bousley v. United States, 523 U.S. 614, (1998) to prevail. They cannot. The

government forwent several charges of equal or greater seriousness in connection with the plea,

and the defendants fail to establish that not a single reasonable juror would convict them of those

charges. This too is reason enough to deny the request for release. And while the Court need not

reach the question of defendants’ innocence under Fischer at this juncture—because of all the


                                               11
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 12 of 38




other sufficient reasons to deny their request for release—defendants also do not establish on the

full factual record that no reasonable juror would convict them of violating § 1512(c)(2). 2

       The government agrees that Fischer applies retroactively on collateral review and that

defendants’ motion is timely under 28 U.S.C. § 2255(f)(3). But because defendants waived their

right to collaterally attack their convictions, have procedurally defaulted, and cannot overcome

their procedural default by establishing actual innocence, their motion fails.

               A. The Defendants Waived the Right to Bring This Motion

       This Court found that the “defendants have fallen short of showing that their § 2255 motion

presents a threshold substantial question of law to satisfy the requirements for release pending

resolution of their § 2255 motion” because of the plea agreements’ waiver provision. ECF 120 at

12. Having failed to raise even a “substantial question,” their claim fails on the merits as well. The

defendants waived the right to bring this motion through unambiguous language in their plea

agreements:

       Your client also waives any right to challenge the conviction entered or sentence imposed
       under this Agreement or otherwise attempt to modify or change the sentence or the manner
       in which it was determined in any collateral attack, including, but not limited to, a motion
       brought under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the
       extent such a motion is based on newly discovered evidence or on a claim that your client
       received ineffective assistance of counsel. Your client reserves the right to file a motion
       brought under 18 U.S.C. § 3582(c)(2).

ECF 77 ¶ 10(D), 81 ¶ 10(D). The defendants’ motion is based on Fischer, not newly discovered

evidence, nor does it claim ineffective assistance of counsel or seek relief under 18 U.S.C.

§ 3582(c). By the plain language of the plea agreement, the defendants have waived the right to


2
 Should the Court reach the question of actual innocence and proceed to find that the defendants
are actually innocent of all charges of equal or greater seriousness and § 1512(c)(2), the
government would concede that their motion establishes a claim to relief as to their plea agreement
only. The indictment, which “echoes the operative statutory text while also specifying the time
and place of the offense.” United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018), is
sufficient.
                                                12
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 13 of 38




bring this motion. See United States v. Stottlemyer, No. 21-cr-334-2 (TJK), 2024 WL 1076852

(D.D.C. Mar. 8, 2024) (finding that an appeal that a defendant’s admitted conduct did not fall

within the scope of Fischer would be barred by appeal waiver in plea agreement).

       Criminal defendants may waive constitutional and statutory rights as long as the waiver is

knowing and voluntary. United States v. Mezzanatto, 513 U.S. 196, 201 (1995). See, e.g., Ricketts

v. Adamson, 483 U.S. 1, 9-10 (1987) (waiver of right to raise double-jeopardy defense); Town of

Newton v. Rumery, 480 U.S. 386, 389, 398 (1987) (waiver of right to file constitutional tort action).

This includes waivers of the right to appeal, even if anticipatory. United States v. Powers, 885 F.3d

728, 731 (D.C. Cir. 2018); United States v. Hunt, 843 F.3d 1022, 1027 (D.C. Cir. 2016).

       As this Court put it, “courts enforce waivers in plea agreements if (1) the waivers are valid,

and (2) the scope of the waiver covers the appeal or collateral attack defendants seek to advance.”

ECF 120 (citing Hunt, 843 F.3d at 1027 (D.C. Cir. 2016); United States v. Koontz, No. 16-cr-16

(EGS), 2024 WL 3225980, at *5–*6 (D.D.C. June 28, 2024)). The language of a collateral waiver

in a plea agreement is interpreted as a contract and will “preclude[] challenges that fall within its

scope” if it is knowing and voluntary and thus enforceable. Garza v. Idaho, 139 S. Ct. 738, 744-

745 (2019).

       The D.C. Circuit has affirmed the enforcement of appellate waivers. “The basic principle

behind an appeal waiver is that the defendant gives up his right to have an appellate court review

the merits of his arguments in exchange for valuable consideration.” Khadr v. United States, 67 F.

4th 413, 424 (D.C. Cir. 2023), cert. denied, No. 23-720, 2024 WL 2262403 (U.S. May 20, 2024).

“Allowing the defendant to waive this right . . . improves the defendant’s bargaining position and

increases the probability he will reach a satisfactory plea agreement with the Government.” United

States v. Guillen, 561 F.3d 527, 530 (D.C. Cir. 2009). So too with collateral waivers. See, e.g.,


                                               13
       Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 14 of 38




Koontz, 2024 WL 3225980, at *6 (citing Guillen and declining to issue a certificate of appealability

as to claims in § 2255 motion barred by collateral-attack waiver in plea agreement). In denying

defendants’ request for release, the Court recognized that “if defendants validly waived the right

to file a § 2255 motion, judicial review of their substantive arguments for vacatur of their felony

obstruction convictions and sentences would be improper.” ECF 120 at 10 (citing Khadr, 67 F.4th

at 418–19; United States v. Ortega-Hernandez, 804 F.3d 447, 451 (D.C. Cir. 2015); In re Sealed

Case, 40 F.4th 605, 607–09 (D.C. Cir. 2022)).

        Moreover, “[t]he principle that future changes in law do not vitiate collateral-challenge

waivers is mainstream.” Portis v. United States, 33 F.4th 331, 335 (6th Cir. 2022). Other circuits

have accordingly affirmed the enforcement of collateral-attack waivers in similar circumstances,

rejecting defendants’ arguments that a later Supreme Court decision voids their plea agreement

because they are allegedly no longer guilty of the offense to which they pled. As the Sixth Circuit

has explained: “Subsequent developments in the law that would make a right to bring a

postconviction challenge more valuable do not suddenly make the plea involuntary or unknowing

or otherwise undo its binding nature.” Id. (citation omitted). Thus, “waivers of the right to bring

postconviction challenges remain enforceable after changes in law.” Id.

       As this Court recognized, for example, after the Supreme Court limited what crimes qualify

as crimes of violence under 18 U.S.C. § 924(c) in United States v. Davis, 588 U.S. 445 (2019),

“numerous defendants who had pled guilty under the old interpretation of § 924(c) sought to have

their sentences vacated despite collateral attack waivers contained in their plea agreements.” ECF

120 at 13 (citing cases). Like Ochs and DeCarlo, they argued that they had been convicted of an

act the law no longer made criminal, and that courts should set aside their plea agreements’

collateral-attack waivers and allow them to file § 2255 challenges. Several circuits, however,


                                               14
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 15 of 38




recognized that enforceability of a collateral attack waiver is a separate question from the validity

of the conviction: “the enforceability of a collateral-attack waiver turns on whether the prisoner’s

agreement to the waiver was knowing and voluntary, not whether the underlying conviction itself

no longer appears valid after a change in law.” Portis, 33 F.4th at 337. Rejecting one such claim,

the Sixth Circuit observed that collateral waivers would “lose all effect” if they could be set aside

simply by challenging the validity of underlying conviction. Id. (citation omitted). 3 “In the short

term, that might seem helpful to criminal defendants. But in the long term, it would eliminate a

bargaining tool to convince the government to drop pending charges against a defendant.” Id. at

336. Because the defendants expressly waived their rights to bring collateral challenges, and

because the waiver was knowing and voluntary, despite a change in the law undermining their

convictions, the waivers were enforceable. Id.

       The Second Circuit has likewise rejected a claim that defendants’ pleas and collateral attack

waivers were invalid after a change in law because they had a “due process right not to be convicted

of a non-existent offense.” Cook v. United States, 84 F.4th 118, 125 (2d Cir. 2023). Cook, like

Portis, also involved defendants who pled guilty to violating 18 U.S.C. § 924(c) (and conspiracy

to commit Hobbs Act robbery), waived their rights to appeal and collaterally attack their

convictions, and then, after Davis, filed § 2255 motions to set aside their convictions. The Second

Circuit enforced the collateral-attack waiver, finding that “the enforceability of a collateral-attack

waiver turns on whether the petitioner’s plea was knowing and voluntary, not the nature of any


3
  The Sixth Circuit also distinguished Bousley, where the defendant had not waived the right to
collaterally attack his conviction. It found that “a future defendant may do what Bousley did not,
namely agree to waive collateral attacks on his conviction no matter what future developments in
the law bring.” Id. “The [Bousley] Court held only that the guilty plea in that case was unknowing,
not that a collateral-attack waiver would be unknowing or unenforceable. It is one thing to
knowingly plead guilty to the elements of a crime; it is quite another to knowingly waive collateral
challenges to a conviction.” Id. at 338. Here, like in Portis and unlike in Bousley, there is an express
waiver of collateral attacks.
                                                 15
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 16 of 38




subsequent legal developments.” Id. at 124. Addressing the argument that defendants had a due-

process right not to be convicted of a nonexistent offense, the Second Circuit reframed the

question: “the question is not whether Petitioners have a right not to be convicted of a non-existent

offense. It is whether Petitioners have a right to bring a collateral attack when, in exchange for

valid consideration, they executed binding plea agreements admitting their criminal conduct and

waiving their ability to challenge the resulting convictions.” Id. at 125. In summary, “a waiver of

the right to bring a postconviction challenge is presumptively enforceable, even after the legal

landscape shifts.” Id.

       The Ninth Circuit has also agreed that a “change in the law does not make a plea

involuntary and unknowing.” In United States v. Goodall, 21 F.4th 555, 562–64 (9th Cir. 2021)),

cert. denied, 142 S. Ct. 2666 (2022), the defendant, who had pled guilty and waived the right to

appeal, also argued his appellate waiver and plea were no longer enforceable after Johnson and

Davis. Goodall rejected the claim that the defendant had not foreseen a change in the law when he

waived his appellate rights. Id. at 562. “When a defendant waives his appellate rights, he knows

that he is giving up all appeals, no matter what unforeseen events may happen.” Id. And, in

Goodall, the defendant received benefits from his plea, just as Ochs and DeCarlo did here: “the

government dropped one § 924(c) count (which reduced the mandatory minimum sentence by 25

years) and agreed to recommend a 240-month sentence. When Goodall agreed to this plea

agreement, he apparently believed that it was a good deal for him. Just because Goodall’s choice

looks less favorable with the benefit of hindsight does not make the choice involuntary.” Id.

(citation omitted). “A plea agreement is no different in this respect from any other contract in

which someone may have buyer’s remorse after an unforeseen future event—the contract remains

valid because the parties knowingly and voluntarily agreed to the terms.” Id.


                                               16
       Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 17 of 38




       Simply put, “[t]here is no do-over just because a defendant later regrets agreeing to a plea

deal.” Id.; see also Oliver v. United States, 951 F.3d 841 (7th Cir. 2020) (“One major purpose of

an express waiver is to account in advance for unpredicted future developments in the law.”). As

the Seventh Circuit, also enforcing a collateral-attack waiver after a change in law undermined a

defendant’s conviction, asked: “If a defendant can make a seemingly beneficial plea agreement

and can then renege on his deal and maintain an appeal, then why would the government make

these kinds of deals in the future? Why wouldn’t the government instead just charge defendants

with all applicable crimes and see what sticks after the appeal?” Oliver, 951 F.3d at 845 (citation

omitted). If defendants could always void a waiver based on some change in the law, collateral

waivers would lose much of their value.

       The D.C. Circuit’s decision in Khadr, 67 F. 4th at 424, enforcing an appellate waiver,

suggests that it would follow the same course here. Khadr argued that his military-commission

plea was not knowingly made because the military judge had erroneously “ruled against him on

the merits of his legal claims” and thereby “misinformed him about the nature and constitutionality

of the charges against him.” Id. Khadr’s position resembles Ochs’ and DeCarlo’s argument that

the Court misinformed them of the elements of § 1512(c)(2) and that their pleas are thus invalid.

ECF 112 at 5. The D.C. Circuit rejected this argument, calling it “too clever by half.” Id. at 424.

The panel explained that Khadr could not “challenge [his] plea based on an alleged error of law

that was raised, rejected[,] and then waived pursuant to the plea” where petitioner was “aware that

the military judge had rejected his theories” yet “nonetheless chose to plead guilty and expressly

waive his right to appeal those erroneous (in his view) rulings.” Id. The same logic applies here.

Ochs and DeCarlo “cannot now have the merits of [their] waived claims reviewed on appeal by

arguing [their] waiver was invalid because those claims were wrongly decided.” Id. As this Court


                                              17
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 18 of 38




found, defendants have “raise[d] little argument at this procedural juncture, let alone a basis, given

the significant weight of decisions supporting the enforceability of appeal and collateral attack

waivers, to find this question is even sufficiently close…to raise a substantial legal question”—let

alone to overcome these decisions and support setting aside the waiver entirely, as they must in

this posture. ECF 120 at 12.

       The defendants’ reply in support of their request for release did not address the substantial

authority supporting enforcement of the waiver here. Instead, they argued that the government

agreed to release another January 6 defendant, Jorge Riley, 21-cr-69 (APM), whose plea agreement

contained a similar waiver. ECF 113 at 1. But, as this Court rightly observed, “the government

may choose whether to seek to enforce such waivers.” ECF 120 at 14 (citing United States v. Little,

78 F.4th 453, 461 n.8 (D.C. Cir. 2023) (noting that “[b]ecause the Government ‘opted not to

enforce’ [the defendant’s] waiver, we need not decide whether [the defendant] reserved the right

to bring this appeal”); Ortega-Hernandez, 804 F.3d at 451 (“[W]e need not enforce an appeal

waiver when the government has not asked us to do so”); United States v. Story, 439 F.3d 226, 231

(5th Cir. 2006) (holding that if the government does not object to the defendant’s appeal based on

his appeal waiver, the waiver is no longer binding “because the government has waived the

issue”)); see also United States v. Goodson, 544 F.3d 529, 535 (3d Cir. 2008) (“the government

may always choose not to invoke an appellate waiver”).

       And there are important distinctions justifying the different position the government took

regarding Riley’s release, including those identified by this Court in its recent order. ECF 120 at

15-16. Here, the government could have charged the defendants, who assaulted officers, with

multiple other felony crimes, including 18 U.S.C. §§ 111(a) or (b), 231(a)(3), and 372. By contrast,

to the government’s knowledge, Riley did not assault officers or commit other felonies. Aside


                                                18
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 19 of 38




from the violation of § 1512(c)(2), he was charged only with the four standard misdemeanors (18

U.S.C. §§ 1752(a)(1)-(2) and 40 U.S.C. § 5104(e)(2)(D)-(G)). This Court correctly recognized the

distinction as “legally relevant” given its implications for the actual innocence showing, which

must extend to forgone charges of equal or greater seriousness. ECF 120 at 15. Further material

factual distinctions exist as well. Riley’s 18-month sentence reflects the fact that his offense was

far less serious than these defendants’, each of whom received 48-month sentences. It is not

improper for the government to consider the seriousness and violence of a defendant’s conduct

when making a discretionary decision to enforce a waiver. 4 That 18-month sentence is now less

than three months from completion, a relevant factor in the analysis of “exceptional

circumstances” at issue in a motion for release. See Stottlemyer, 2024 WL 1076852 at *5.

Moreover, the decision to release a defendant pending adjudication of a § 2255 motion (as in Riley)

involves a more defendant-favorable standard than in this posture, where defendants must show

not just that a “substantial claim” exists as to some issue, but that they should actually prevail on

that question. See id. at *3; see also Mem. Op., United States v. Lyons, No. 21-cr-79 (BAH), ECF

121. In short, the government’s decision regarding release in a different case does not invalidate

the waiver to which these defendants agreed.

       Enforcing the waiver here is just. It was no surprise to any litigant, let alone the defendants,

that legal questions surrounded § 1512(c)(2)’s application to January 6 defendants. Ochs and

DeCarlo themselves had filed a motion to dismiss attacking the statute. Shortly before they

engaged in plea negotiations, another judge in the district had issued a contrary interpretation of

the statute; while they were negotiating their pleas, an appeal to the D.C. Circuit was filed. See



4
 In other settings, the law directs the government (and courts) to assess such factors. See, e.g., 18
U.S.C. § 3553(a)(1) (sentencing factors, including nature and circumstances of the offense); 18
U.S.C. § 3142(g) (detention factors, including danger to the community).
                                                19
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 20 of 38




Miller, 589 F. Supp. 3d 60; Transmission of Notice of Appeal, Fischer, 21-cr-234 (CJN), ECF 86

(D.D.C. June 22, 2022). With ample notice that this was a disputed issue, Ochs and DeCarlo chose

to give their up their own rights to appeal the Court’s decision, and, like Khadr, they received

benefits in exchange. They were permitted to plead guilty to only one offense, and they received

the certainty that they would not face future charges for the conduct described in the Statement of

Offense. And, as described further below, the government could have brought multiple other

felony charges here, particularly because Ochs and DeCarlo were captured on video throwing

smoke bombs at the police together. The government also agreed that defendants would be entitled

to a three-point acceptance of responsibility credit (with limited exceptions).

       Ochs and DeCarlo’s negotiated agreements stand “in stark contrast” to some other

defendants who did not waive their appellate rights and instead participated in fully stipulated

trials. ECF 120 at 9-10. Most of these defendants had to admit guilt on other charges in addition

to the § 1512(c)(2) charge. Because Ochs and DeCarlo agreed to give up their appellate and

collateral attack rights and agree to the greater certainty of a plea agreement, they were permitted

to plead guilty to one offense only. Cf. Statement of Facts for Stipulated Trial, United States v.

Bender, 21-cr-508 (BAH), ECF 93 at 19-20 (D.D.C. Dec. 7, 2022) (admitting guilt on six counts);

United States v. Southard-Rumsey, 21-cr-387 (APM), ECF 64 at 21-24 (D.D.C. Jan. 27, 2023)

(admitting guilt on nine counts, including three violations of 18 U.S.C. § 111(a)). Many other

defendants proceeded to trial to preserve their challenge to § 1512(c)(2), as this Court observed.

ECF 120 at 9 (citing cases). Had Ochs and DeCarlo wanted to preserve their rights to continue to

litigate § 1512(c)(2), they could have proceeded without a plea agreement, sought to except the

issue from their broad waiver of appellate and collateral rights, or negotiated a stipulated trial, as

other January 6 defendants did. Instead, they chose to waive their rights to appeal and collaterally


                                                20
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 21 of 38




attack their sentences to obtain an agreement that conferred benefits. In these circumstances, it is

fair to enforce the parties’ bargain, which includes an unambiguous waiver of their right to file a

collateral attack.

                B. The Defendants’ Motion is Procedurally Defaulted and They Do Not
                   Demonstrate Actual Innocence as to Forgone Charges and the Offense of
                   Conviction.

        Even without the waiver, Ochs and DeCarlo’s § 2255 motion would fail. It is procedurally

defaulted because the defendants never sought direct review of their claims. Because Ochs and

DeCarlo cannot establish cause for their default, they must demonstrate “actual innocence,” but,

for two independent reasons, they do not. First, they do not establish actual innocence of charges

of equal or greater seriousness that the government forwent in connection with the plea. Second,

they do not carry their burden to establish actual innocence—that it is more likely than not that no

reasonable juror would convict them—of the charge under § 1512(c)(2).

                       1.   The Defendants’ Claim is Procedurally Defaulted

        “The procedural default rule generally precludes consideration of an argument made on

collateral review that was not made on direct appeal, unless the defendant shows cause and

prejudice.” United States v. Hughes, 514 F.3d 15, 17 (D.C. Cir. 2008); United States v. Pettigrew,

346 F.3d 1139, 1144 (D.C. Cir. 2003). To establish cause, a defendant must demonstrate “some

objective factor external to the defense [that] impeded counsel’s efforts to raise the claim,” such

as government interference or that the factual or legal basis for the claim was not reasonably

available. McCleskey v. Zant, 499 U.S. 467, 493-94 (1991) (internal quotation omitted). A

defendant “bears the burden of showing both” cause and actual prejudice. Hicks, 911 F.3d at 627

(citation omitted).




                                               21
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 22 of 38




       “Inexplicably, [defendants’] opening brief does not acknowledge the existence of the

procedural default rule.” Hughes, 514 F.3d at 17. Under that rule, Ochs and DeCarlo cannot

establish cause. A claim that is truly “novel”—where the law at the time did not provide counsel

with a “reasonable basis” for the claim—can constitute “cause” to excuse a procedural default,

Bousley, 523 U.S. at 622 (quoting Reed v. Ross, 468 U.S. 1, 16 (1984)). This Court has recognized

that novelty exists in at least three circumstances:

       (1) the Supreme Court explicitly overrules its own precedent; (2) the Supreme
       Court changes course on a “longstanding and widespread practice to which [the
       Supreme Court had] not spoken, but which a near-unanimous body of lower court
       authority has expressly approved”; and (3) the Supreme Court disapproves of a
       once-sanctioned practice.

United States v. Hammond, 351 F. Supp. 3d 106, 123 (D.D.C. 2018) (citing Reed, 468 U.S. at 17,

104 S. Ct. 2901 (quoting United States v. Johnson, 457 U.S. 537, 551 (1982))). The fact that this

Court had ruled against defendants’ claim is not dispositive. “Futility cannot constitute cause if it

means simply that a claim was ‘unacceptable to that particular court at that particular time.’”

Bousley, 523 U.S. at 623 (quoting Engle v. Isaac, 456 U.S. 107, 130 n.35 (1982)).

       The defendants do not come close to establishing cause. Defendants identify no external

factor preventing them from bringing this claim, which is not novel. 5 The application of

§ 1512(c)(2) was an open question in the D.C. Circuit (and the Supreme Court) at the time of

defendants’ plea and sentencing, one district judge had ruled in defendants’ favor, and defendants

across the district, including these defendants, had filed motions to dismiss challenging the



5
  An appeal waiver in a plea agreement does not constitute cause to overcome a procedural default.
An appellate waiver is not a “factor external to the defense;” the defendants themselves agreed to
it. Carter v. United States, No. 18-12723-B, 2018 WL 8667010, at *2 (11th Cir. Oct. 12, 2018)
(appellate waiver does not constitute cause excusing procedural default); United States v. Jones,
56 F.3d 62 (4th Cir. 1995) (same). Allowing a defendant who agreed to waive his appellate rights
to establish “cause” and simply file a § 2255 motion instead would “turn[] the ‘cause requirement
on its head.’” United States v. Pipitone, 67 F.3d 34, 39 (2d Cir. 1995).
                                                22
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 23 of 38




statute’s application to their case. See Bousley, 523 U.S. at 622 (“Indeed, at the time of petitioner’s

plea, the Federal Reporters were replete with cases involving challenges to the notion that ‘use’ is

synonymous with mere ‘possession.’” (citations omitted)); cf. Hammond, 351 F. Supp. 3d at 124

(finding cause for challenge based on Supreme Court decision which overruled two Supreme Court

rulings, and which “no one—the government, the judge, or the appellant—could reasonably have

anticipated.”) (quoting United States v. Redrick, 841 F.3d 478, 480 (D.C. Cir. 2016)). The claim

was reasonably available.

                       2. The Defendants Do Not Establish Actual Innocence

       Ochs and DeCarlo therefore cannot escape procedural default unless they make a threshold

showing of “actual innocence”. Smith v. Murray, 477 U.S. 527, 537 (1986). The “actual

innocence” exception requires a defendant to show that it was “more likely than not that no

reasonable juror would have convicted him” had the district court correctly instructed the jury and

given the government the opportunity to adduce evidence of the omitted element. Schlup v. Delo,

513 U.S. 298, 327-328 (1995); see also United States v. Baxter, 761 F.3d 17, 31-32 (D.C. Cir.

2014) (defendant’s bare-bones assertion not sufficient). “[T]enable actual-innocence gateway

pleas are rare: ‘[A] petitioner does not meet the threshold requirement unless he persuades the

district court that, in light of the new evidence, no juror, acting reasonably, would have voted to

find him guilty beyond a reasonable doubt.’” McQuiggin, v. Perkins, 569 U.S. 383, 386-87 (2013)

(citing Schlup, 513 U.S. at 329, and House v. Bell, 547 U.S. 518, 538 (2006) (emphasizing that the

Schlup standard is “demanding” and seldom met)).

       In addition, “[i]n cases where the Government has forgone more serious charges in the

course of plea bargaining, petitioner’s showing of actual innocence must also extend to those

charges.” Bousley, 523 U.S. at 624. The same showing is required for forgone charges of equal


                                                23
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 24 of 38




seriousness, and the charges need not have ever actually been brought. United States v. Caso, 723

F.3d 215, 219-21 (D.C. Cir. 2013) (“There is nothing strained about concluding that a prosecutor

can forgo ‘charges’ either by dropping them after an indictment or by never bringing them at all.”)

(emphasis omitted). In the D.C. Circuit, courts measure the relative seriousness of a charge using

the Sentencing Guidelines, not the statutory maximum. Id. at 225.

       To rebut a claim of actual innocence, “the Government is not limited to the existing

record.” Bousley, 523 U.S. at 623–24 (also noting that court may consider “evidence [that] was

not presented during petitioner’s plea colloquy”) (citation omitted); see also Schlup, 513 U.S. at

328 (“The habeas court must make its determination concerning the petitioner’s innocence in light

of all the evidence, including . . . evidence tenably claimed to have been wrongly excluded or to

have become available only after the trial.”). “‘[A]ctual innocence’ means factual innocence, not

mere legal insufficiency.” Bousley, 523 U.S. at 623.

                               a. The Defendants Cannot Establish Actual Innocence of All
                                  Forgone Charges of Equal or Greater Seriousness

       Ochs and DeCarlo, who claim they pled guilty merely because they were “physically

present at the Capitol,” ECF 112 at 5, minimize their conduct, and fail to establish their actual

innocence of any other charges. Because two of those charges have an offense level equal or

greater to the § 1512(c)(2) charge, Ochs and DeCarlo cannot prevail on their actual innocence

claim, and their motion fails. 6 See ECF 89 ¶¶ 48-5, 91 ¶¶ 49-59 at (Final PSRs containing

guidelines calculation, which the Court adopted).



6
  For the purposes of this brief, the government uses the offense level of 22 that the Court
calculated for the § 1512(c)(2) offense at sentencing, notwithstanding the fact that the D.C. Circuit
has since held that certain enhancements no longer apply. United States v. Brock, 94 F.4th 39, 51
(D.C. Cir. 2024), As explained below, however, the offense level for the 18 U.S.C. § 372 charge
would be calculated using the same guidelines for the § 1512(c)(2) charge (so should be treated as
equally serious regardless of whether the Court uses the pre- or post-Brock offense level).
                                               24
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 25 of 38




       Ochs and DeCarlo raise two overall objections to this analysis, neither of which is

persuasive. They cite the Department of Justice’s Principles of Federal Prosecution language

providing that “prosecutors will generally seek a plea to the most serious offense that is consistent

with the nature and full extent of the defendant’s conduct . . .” ECF 118 at 5 (citing Department of

Justice Principles of Federal Prosecution Section 9.27-400). They claim that these Principles mean

that government could not have possibly forgone more serious charges here. Id. Were the

defendants correct, the Bousley rule would lose most of its meaning, as courts would be required

to presume that the government always offered a plea to the most serious charge and never forwent

more serious charges. That is not the case. Calculations regarding litigation risks, benefits, and

tradeoffs for even provable offenses can be complex. Here, several factors explain the

government’s decision here to seek a plea to § 1512(c)(2) at guidelines level 25 rather than require

a plea to another charge outlined here. The charge under 18 U.S.C. § 372 is only equally as serious,

not more serious (under the Guidelines), and has a lower statutory maximum; so nothing about the

government’s decision to forego that charge is inconsistent with even defendants’ interpretation of

the Principles. The charge under 18 U.S.C. § 111(b), meanwhile, has an offense level that is only

one point higher under the guidelines; while being provable, carried some litigation risk; and was

based on evidence that the government did fully develop until the case had already been pending

for over a year, with a trial date set. In such a posture, given the relatively small difference in the

guidelines (and equal statutory maximum), it is unremarkable that the government offered

defendants the opportunity to plead guilty to one of the already pending charges before bringing

this new charge.

       Moreover, the Principles of Federal Prosecution only requires prosecutors to “generally”

seek a plea meeting certain criteria. And here, obstruction of an official proceeding was the crime


                                                25
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 26 of 38




that, at the time, was most “consistent with the nature and full extent of the defendant’s conduct”

(particularly because, at the time, it included enhancements for the scope of the interference with

the government and defendants’ violent conduct). As the Solicitor General stated during oral

argument in Fischer, the charge of § 1512(c)(2) carried meaningful symbolism—the defendants

did not merely assault police or disrupt a congressional hearing; rather, the “fundamental wrong

committed by many of the defendants . . . was a deliberate attempt to stop the joint session of

Congress from certifying the results of the election.” Tr. of Oral Arg. at 36-37, available at

https://www.supremecourt.gov/oral_arguments/argument_transcripts/2023/23-5572_0pm1.pdf;

see also id. at 95-96 (other charges “do not require that Petitioner have acted corruptly to obstruct

an official proceeding . . . one of . . . the root problems with Petitioner's conduct is that he knew

about that proceeding . . . he was prepared to storm the Capitol . . . he went to the Capitol on

January 6th with that intent in mind and took action . . . it is entirely appropriate for the government

to seek to hold Petitioner accountable for that conduct with that intent.”). The government thus

had reason to seek a plea to §1512(c)(2), consistent with Principles of Federal Prosecution. See

Principles of Federal Prosecution 9-27.230 (noting the needs to pursue cases with “substantial

federal interest”). Moreover, as noted above, it was a plea to a crime with which the defendants

had already been charged, completed motion practice, and had a trial date set; to bring other

charges anew might have delayed the trial further.

        Defendants also provide an incomplete description of Caso, suggesting that the D.C.

Circuit called into question Bousley’s rule that a defendant must establish actual innocence of

charges that were of equal or greater seriousness. ECF 118 at 4 n.2. Caso did not challenge that

rule; rather, it recognized that the rule was not based simply on the idea that “the government

would have demanded a plea to the more serious charge had it known the charge of conviction was


                                                 26
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 27 of 38




invalid.” ECF 118 at 4 n.2 (quoting Caso, 723 F.2d at 222-23). In a passage from Caso that

defendants ignore, the panel proceeded to identify another rationale underpinning Bousley of

which it did approve: the “equities of plea bargaining.” Caso, 723 F.3d at 223. Specifically, “if the

uncharged offense is more serious than the offense of conviction, the lesser penalty for the latter

should stand unless the defendant can show that he is innocent of both offenses.” Id. The idea is

that the defendant should not receive “an unjustified windfall.” Id. (citation omitted). Wiping

Ochs’ and DeCarlo’s slates clean when they committed multiple other serious offenses would

provide such a windfall.

                                       i. 18 U.S.C. § 111(b)

       As relevant here, 18 U.S.C. § 111(b) criminalizes using a deadly or dangerous weapon in

the course of forcibly assaulting, resisting, opposing, impeding, intimidating, or interfering with a

federal officer. The defendants admitted they threw smoke bombs at the police. ECF 79 ¶ 12; ECF

82 ¶ 13. That is an assault. They did this in the middle of an intense conflict between rioters and

police on the Capitol’s West Front, with rioters attacking police with chemical spray and metal

rods, among other objects. ECF 94 at 15. In this context, the smoke bomb was a “deadly or

dangerous weapon.”

       An object is a deadly or dangerous weapon if the object is capable of causing serious bodily

injury or death to another person and the defendant used it in that manner. United States v.

Arrington, 309 F.3d 40, 45 (D.C. Cir. 2002). While such injuries may not be common, smoke

bombs are “capable” of causing acute lung injury (from smoke inhalation). 7 Their capability to


7
  See, e.g., “A Case of Smoke Bomb-induced Acute Lung Injury,” Intern Med. 2021 Mar 15; 60(6):
965–966; available at National Library of Medicine, National Center for Biotechnology
Information, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8024971/; see also “Zinc chloride-
induced TRPA1 activation does not contribute to toxicity in vitro,” Toxicology Letters, 1
September                        2018,                       available                      at
https://www.sciencedirect.com/science/article/abs/pii/S0378427417313401?via%3Dihub        (“A
                                               27
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 28 of 38




cause serious bodily injury is even greater in the context of the manner used here, where defendants

threw the bombs at officers who were outnumbered and being actively attacked by a crowd of

thousands. The smoke could obscure officers’ vision, leaving them unable to see and defend

themselves against objects being thrown or sprayed, or even rioters charging the police line.

        The guidelines calculation for the violation of 18 U.S.C. § 111(b) would result in a total

offense level of 23 (after acceptance) – higher than the level 22 of the defendants’ offense. The

offense level of 23 would be calculated as follows:

        U.S.S.G. § 2A2.2(a) 8           Base Offense Level                                      14
        U.S.S.G. § 2A2.2(b)(7)          § 111(b) conviction                                     +2
        U.S.S.G. § 2A2.2(b)(2)          Dangerous weapon                                        +4
        U.S.S.G. § 3A1.2(a)-(b)         Official Victim                                         +6
        U.S.S.G § 3E.1.1                Acceptance of Responsibility                            -3
        TOTAL                                                                                   23



plethora of clinical respiratory symptoms including laryngeal, tracheal, and bronchial mucosal
edema and ulceration, interstitial fibrosis, alveolar obliteration, interstitial edema, and bronchiolitis
obliterans have been associated with inhalation of ZnCl2 smoke”); “Inhalation lung injury induced
by smoke bombs in children: CT manifestations, dynamic evolution features and quantitative
analysis,”        J     Thorac      Dis. 2018     Oct;      10(10):     5860–5869,        available    at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6236165/#:~:text=Smoke%20bombs%20can%2
0release%20a,cause%20airway%20and%20lung%20injury. (noting studies finding various
forms of lung injury and explaining that “Smoke bombs can release a mixed chemical smoke
containing zinc chloride, zinc oxide, hexachloroethane and other chemical ingredients after flaring.
Smoke inhaling can cause airway and lung injury.”); “Pulmonary damage after modest exposure
to zinc chloride smoke. Respiratory Medicine. 1999;93(12):885–890.
available at https://pubmed.ncbi.nlm.nih.gov/10653050/ (“sometimes even a modest exposure to
zinc chloride smoke can cause significant late and long-term decline in lung functions despite mild
initial symptoms. A case series of thirteen soldiers exposed to zinc chloride smoke during a combat
exercise showed a statistically significant decline in their lung diffusion capacity and total lung
capacity of 16.2% and 4.3%, respectively, four weeks following the exposure.)
“Pulmonary function test findings in patients with acute inhalation injury caused by smoke
bombs,” Journal of Thoracic Disease, Vol 8, No 11 (November 16, 2016) (noting danger of “lung
injury              and               even              death”);                 available             at
https://jtd.amegroups.org/article/view/10602/html#:~:text=Some%20studies%20have%20sugges
ted%20that,damage%20of%20the%20respiratory%20system..
8
  By cross-reference from U.S.S.G. § 2A2.4(c)(1), which directs that U.S.S.G. § 2A2.2 be applied
if the conduct constituted aggravated assault (as, here, when it involved a dangerous weapon and
intent to commit another felony, such as a violation of 18 U.S.C. § 231(a)(3) (civil disorder)).

                                                 28
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 29 of 38




       Defendants challenge the application of the dangerous-weapon and official-victim

enhancements here. ECF 118 at 6. Their conduct easily justifies both. A dangerous weapon, as

relevant here, is “(i) an instrument capable of inflicting death or serious bodily injury; or (ii) an

object that is not an instrument capable of inflicting death or serious bodily injury but (I) closely

resembles such an instrument; or (II) the defendant used the object in a manner that created the

impression that the object was such an instrument (e.g., a defendant wrapped a hand in a towel

during a bank robbery to create the appearance of a gun).” U.S.S.G. § 1B1.1 n.1(E); U.S.S.G. §

2A2.2 n.1 (cross-referencing the meaning of “dangerous weapon” in U.S.S.G. § 1B1.1 n.1).

Because the defendants violated 18 U.S.C. § 111(b) by using a “dangerous weapon”—a weapon

capable of causing serious bodily injury—their conduct fulfills the “dangerous weapon” definition

in the Guidelines as well. The official victim enhancement, to the government’s knowledge, has

applied in every January 6 assault-of-a-federal-officer case. The defendants threw smoke bombs

at the line of uniformed police following a protracted battle between rioters and police. There can

be no question they assaulted the police based on their official status, meeting the requirements of

U.S.S.G. § 3A1.2(a)-(b). The violation of 18 U.S.C. § 111(b) forgone by the government is thus,

by one point, an offense of equal or greater seriousness than violation of § 1512(c)(2), defeating

defendants’ actual innocence claim.

       Defendants’ contrary arguments are unavailing. They assert they threw “novelty” items,

without any proof or explanation of how the capabilities of novelty items would be any different.

They note that one of the bombs (the one thrown by DeCarlo) did not ignite—but they do not

refute that the other one did (allowing for Pinkerton liability for both defendants), and the evidence

in this case indicates that the defendants fully intended for both to ignite. Specifically, DeCarlo

said, “Oh fuck, I just threw it without pulling the pin. God damn it”—indicating that he intended


                                                29
       Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 30 of 38




to ignite the bomb.9 ECF 79 ¶ 12; ECF 74 Ex. 13 at 0:28-0:31. He then told Ochs to “pull the pin

and throw it,” establishing aiding and abetting liability for the other bomb as well. DeCarlo also

directly committed an assault regardless of whether his smoke bomb ignited—an assault is “an

intentional attempt or threat to inflict injury upon someone else, when coupled with an apparent

present ability to do so.” Jury Instructions, United States v. Todd, 22-cr-608 (BAH), ECF 208 at

9 (D.D.C. filed Feb. 7, 2024). And the relevant question for the enhanced Section 111(b) liability

here is the weapon’s capability to cause serious bodily injury, not whether it actually did cause

such a result. DeCarlo intended the smoke bomb be used in that manner, so a rational jury could

convict him of violating 18 U.S.C. § 111(b) directly—in addition to holding him liable for the

smoke bomb Ochs threw.

                                     ii. 18 U.S.C. § 372

       The government also could have charged the defendants with violating 18 U.S.C. § 372, a

charge the government brought against other members of the Proud Boys at the time that plea

negotiations in this case were ongoing. Third Superseding Indictment, United States v. Nordean,

21-cr-175 (TJK), ECF 380 (D.D.C. June 6, 2022). Ochs and DeCarlo were charged with

conspiracy (under 18 U.S.C. § 371), and fittingly so—all their actions were coordinated with each

other, from their travel planning and simultaneous fundraisers to their shared accommodation; and,

on January 6, they moved in lockstep, and they both filmed a video after celebrating how they had

“stopped the steal” and “did our job.” When they threw the smoke bombs at the police, they did

so together, and discussed how to properly deploy them. Before January 6, Ochs had contemplated

using violence if the Supreme Court failed to intervene on President Trump’s behalf, providing a



9
  In addition, even if it did not ignite, the idea that a smoke bomb—a blunt object thrown into a
line of police officers in the middle of a riot—is not capable of causing serious bodily injury in
context is dubious.
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        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 31 of 38




window into his intent and willingness to use threats and intimidation. Carrying out that intent, on

January 6, during the riot, DeCarlo asked Ochs, “you think they are scared in there?” Ochs replied,

“yeah, and I fucking love it!” ECF 97 at 20.

       Their conduct violated 18 U.S.C. § 372 under at least two theories. The statute provides:

               If two or more persons . . conspire to [(1)] prevent, by force, intimidation,
       or threat, any person from accepting or holding any office, trust, or place of
       confidence under the United States, or from discharging any duties thereof, or [(2)]
       to induce by like means any officer of the United States to leave the place, where
       his duties as an officer are required to be performed, or to injure him in his person
       or property on account of his lawful discharge of the duties of his office, or while
       engaged in the lawful discharge thereof, or to injure his property so as to molest,
       interrupt, hinder, or impede him in the discharge of his official duties, each of such
       persons shall be fined under this title or imprisoned not more than six years, or both.

Id.

       DeCarlo and Ochs violated each clause of 18 U.S.C. § 372 as to both members of the

United States Congress and police officers defending the Capitol. See United States v. Nordean,

21-cr-175 (TJK), 2022 WL 17583799, at *11-*15 (D.D.C. Dec. 11, 2022) (denying motion to

dismiss charge under 18 U.S.C. § 372 and finding that members of Congress and U.S. Capitol

Police hold an “office, trust, or place of confidence under the United States”). 10 As outlined above,

Ochs and DeCarlo functioned as a unit on January 6. By working together to storm the Capitol,

throw smoke bombs at the police, point rioters toward Speaker Pelosi’s office, and deface a door

with their chilling “Murder the Media” slogan—among other actions—all in service of an effort

to stop the certification proceeding, they sought to “prevent, by force, intimidation or threat” both

members of Congress and the police (the direct victims of their smoke-bomb assault) from


10
   A jury convicted all five defendants in the Nordean case (members of the Proud Boys) of
violating 18 U.S.C. § 372 in connection with their conduct on January 6 under both theories
(preventing a member of Congress or federal officer from discharging and duty and inducing a
member of Congress or federal officer to leave the place where their duties were required to be
performed). Verdict Form, United States v. Nordean, 21-cr-175 (TJK), ECF 804, at 3-4 (D.D.C.
May 4, 2023).
                                                31
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 32 of 38




discharging their duties of certifying the vote and defending the Capitol on January 6. Each of

these were threatening, intimidating, or forcible, assaultive activities. They reflected the violence

that Ochs—who had earlier declared himself “pro-violence”— anticipated when he told other

members of the Proud Boys, “I’ll still chimp out if I’m wrong about the Supreme Court tho…we

just have to TIME IT RIGHT and DO IT SMART.” ECF 94 at 4-5.

       The defendants’ conspiracy also sought to injure officers or induce them to stop defending

the Capitol. 18 U.S.C. § 372 (“to induce by like means any officer of the United States to leave

the place, where his duties as an officer are required to be performed”), as manifested most clearly

by their smoke-bomb assault. And they sought to induce members of Congress to leave the place

where their duties were to be performed: they intended to stop Congress from certifying the

election at the Capitol that day. Ochs summed it up as they left the Capitol: “we stormed the fuckin’

U.S. Capitol and made Congress flee.” ECF 94 at 31. DeCarlo flashed a thumbs-up sign. Id.

       The guidelines for 18 U.S.C. § 372 are calculated identically to the guidelines for

§ 1512(c)(2) here. Because the conspiracy targeted members of Congress and the police in order

to obstruct the certification, it uses the obstruction guideline, U.S.S.G. § 2J1.2. 11 See United States


11
   Under U.S.S.G. § 2X1.1, cmt. n.3, for a conspiracy conviction for which the substantive offense
is not covered by a specific guideline, use § 2X5.1. Under § 2X5.1, since there is no applicable
Chapter Two Guideline for an offense of preventing officers of the United States from discharging
their duties in the Statutory Appendix, use “the most analogous guideline.” The “officers” of the
United States who were the victims of this count were the Members of Congress and law
enforcement officers. Because the object of the defendants’ conspiracy—preventing Members of
Congress from performing their constitutional duties at the Capitol on January 6—was designed
to obstruct the administration of justice, the most analogous guideline is U.S.S.G. § 2J1.2,
“Obstruction of Justice.” The victims of this effort—Members of Congress and the federal law
enforcement who were protecting them—are indistinguishable for this purpose. Indeed, Judge
Mehta applied §2J1.2 to violations of 18 U.S.C. § 372 by members of the Oath Keepers. See United
States v. Rhodes, et al., No. 22-cr-15 (APM). And the First Circuit agreed that §2J1.2, rather than
§2A2.4, was the most analogous guideline for a defendant convicted of violating 18 U.S.C. § 372,
when the defendant’s conviction was premised on the defendant conspiring to prevent federal
officers from arresting other people, and thus “obstructed the administration of justice.” United
States v. Gerhard, 615 F.3d 7, 33 (1st Cir. 2010); see also United States v. Rakes, 510 F.3d 1280,
                                                 32
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 33 of 38




v. Biggs, 21-cr-175-2 (TJK), Aug. 31, 2023 Sent. Hrg. Tr. (“Biggs Sent. Tr.”) at 13-15 (applying

§ 2J1.2 to violation of 18 U.S.C. § 372 where defendants, like Ochs and DeCarlo, sought to induce

Congress to leave their place of duty during the certification) (transcript separately provided via

email on August 7, 2024); see also, e.g., United States v. Meggs, 22-cr-15-2 (APM), May 25, 2023

Sent. Hrg. Tr. at 32 (same). 12 Thus, 18 U.S.C. § 372 also qualifies as an equally serious offense

under the guidelines, and Ochs and DeCarlo have not established that no reasonable juror would

find them guilty of violating the statute. 13

        In summary, there are at least two charges of equal or greater seriousness that the

government forwent in connection with the plea. Ochs and DeCarlo establish their actual

innocence as to none of them. Their motion is barred. 14

                                b. The Defendants Do Not Establish Their Actual Innocence
                                   Under § 1512(c)(2)

        The Court need not go further; the fact that Ochs and DeCarlo have failed to show that no

reasonable juror would convict them of violating 18 U.S.C. §§ 111(b) or 372 is enough to bar their

motion. They also do not carry their burden to establish, on the full factual record, that not a single




1290 (10th Cir. 2007) (acknowledging that a § 372 conviction for conspiring to impede and thwart
the prosecution of other people would constitute “imped[ing] the due administration of the law,”
and thus would warrant application of §2J1.2 rather than §2A2.4).
12
   The transcript refers to Count Four, which was the conviction under 18 U.S.C. § 372. See Verdict
Form, United States v. Rhodes, ECF 410 at 4-5.
13
   The government previously argued that Count Three of the Superseding Indictment, alleging a
violation of 18 U.S.C. § 1361, was an offense of equal or greater seriousness because its offense
level could be calculated under 3A1.4. The government withdraws the argument because the
damage done by Ochs and DeCarlo’s “Murder the Media” graffiti was under $1,000, making
their violation of 18 U.S.C. § 1361 a misdemeanor offense to which the enhancement under
3A1.4 likely would not apply.
14
   The government also forwent charges under 18 U.S.C. § 111(a)(1) (felony assault) and 18 U.S.C.
§ 231(a)(3) (civil disorder). The fact that Ochs and DeCarlo faced all these additional felonies also
underscores that they received a benefit from their plea bargain, and that that bargain should be
enforced.
                                                33
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 34 of 38




reasonable juror (making reasonable inferences from the evidence) would convict them of

violating § 1512(c)(2).

       The defendants’ showing is insufficient. Their opening brief limits their analysis to the

statement of offense (and even then, omits many facts). There is no dispute that the Court did not

ask Ochs and DeCarlo to address Fischer’s new “records, documents, objects, or other things”

requirement at their plea colloquy. But that only goes so far. Just because a court does not apprise

a defendant of a certain legal requirement does not mean that facts supporting the omitted

requirement do not exist. “Mere legal insufficiency” is not “factual innocence,” which Bousley,

523 U.S. at 623, requires they establish.

       Here, the January 6 “official proceeding plainly used certain records, documents, or

objects”—including, among others, those relating to the electoral votes themselves. Fischer, 144

S. Ct. at 2194 (Jackson, J., concurring). It “operate[d] through a deliberate and legally prescribed

assessment of ballots, lists, certificates, and, potentially, written objections”; “Congress had before

it boxes carried into the House chamber at the beginning of the Joint Session that contained

‘certificates of votes from the electors of all 50 states plus the District of Columbia,’” U.S. Br. at

60, United States v. Fischer et. al, No. 22-3038 (D.C. Cir.) (filed Aug. 8, 2022); and (2) “as rioters

began to breach the restricted area around the Capitol building and grounds on January 6, 2021,

legislators were evacuated from the House and Senate chambers, and the staff for the Secretary of

the Senate ‘took the ballot boxes and other paraphernalia of the proceeding” out of the chamber

“to maintain custody of the ballots and make sure nothing happen[ed] to them.” Id. (citing trial

transcript). By causing or attempting to cause the electoral ballots to be removed from the Chamber

to ensure their safety, Ochs and DeCarlo impaired (or attempted to impair) the availability of those

electoral certificates for use in the certification proceeding set to take place on January 6.


                                                34
       Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 35 of 38




       The concurring opinion in Fischer emphasized that § 1512(c)(2) remains available to

prosecute January 6 riot participants. It recognized that “that official proceeding plainly used

certain records, documents, or objects—including, among others, those relating to the electoral

votes themselves.” Fischer, 144 S. Ct. at 2194 (Jackson, J., concurring). And it noted that “[i]t

might well be that Fischer’s conduct, as alleged here, involved the impairment (or the attempted

impairment) of the availability or integrity of things used during the January 6 proceeding. . . If

so, then Fischer’s prosecution under § 1512(c)(2) can, and should, proceed.” Id.

       Ochs and DeCarlo fail to carry their burden to show that their conduct falls clearly outside

this standard such that no reasonable juror would vote to convict. Ochs and DeCarlo are two

politically aware individuals (who followed the election, knew about the certification, hosted

political shows on social media, and who explicitly acknowledged that they caused the proceeding

to stop by storming the building), who sought to stop the certification, engaged in conduct whose

natural, probable, and actual consequence was to impair the availability of records, documents,

objects, or other things—namely, the electoral certificates for President-Elect Biden that they did

not want Congress to validate that day. They do not show that no reasonable juror could find that

the natural, probable, and actual consequence of attacking officers and storming the Capitol was

to make the electoral ballots unavailable to lawmakers, impairing their availability for use in the

proceeding. They do not show that no reasonable juror could find that these two politically savvy

individuals, who also showed themselves willing to resort to illegal conduct to bring about their

desired result, intended that natural and probable consequence. Or, alternatively, they do not show

that no reasonable juror could infer that Ochs and DeCarlo attempted to impair the electoral votes’

availability or integrity for use. Entering the Capitol, the defendants called out for “Nancy” and

pointed other rioters toward Speaker Pelosi’s office. They defaced the Capitol and stole. They do


                                              35
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 36 of 38




not show that no reasonable juror could find that they would have taken an action to impede the

ballots’ availability or integrity for use, had they gotten that far—thus violating 18 U.S.C. §

1512(c)(2) under an attempt theory.

       Defendants’ challenges to the government’s analysis are unavailing. Defendants criticize

the government for not identifying a statement from the defendants that “directly relates to

documents used in the vote certification.” ECF 118 at 3. But intent need not—and often cannot—

be proved directly; it would be the rare wire fraud defendant who wrote, “I intend to defraud my

victims.” There is nothing untoward about asking a jury to infer a defendant’s intent from his or

her statements and actions. The standard jury instruction that individuals intend the “natural and

probable consequences” of their actions reflects that fact.

       Here, defendants do not show that no rational juror could make such an inference.

Defendants saw themselves as political journalists. They hosted online television shows and

participated in encrypted chats discussing politics. Ochs—who had run for political office, recalled

the Supreme Court decision in Bush v. Gore, speculated about how Justice Alito and Chief Justice

Roberts would vote, and expressed awareness of state legislatures’ role in choosing the president.

DeCarlo’s copious political commentary—as of January 6, he claimed to have worked for Murder

the Media for four years—reflects a similar level of political engagement. See generally ECF 93

at 22-27 (describing DeCarlo interview on YouTube, “Talking to Our Frens in DC”); Molly

Hennesy-Fiske, “Some who stormed the Capitol insist, ‘What I did was journalism,” ·

https://www.latimes.com/world-nation/story/2021-01-13/some-who-stormed-the-capitol-insist-

what-i-did-was-journalism, Jan. 13, 2021; ECF 101-1 Ex. 2 (“Murder the Media/Thunderdome”

interview of DeCarlo).




                                               36
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 37 of 38




       And this was not just general political awareness. The defendants specifically chose to

come to Washington, D.C. for the events of January 6—the day the certification was to take place,

with Ochs making the long trip from Hawaii. They went to the trouble to fundraise to finance their

trip. And their chatter repeatedly focused on the election, such as Ochs’ speculation about how the

Supreme Court might intervene, his participation in organizing a conference call in response to

President Trump’s tweet calling his supporters to D.C. for January 6, and both defendants’

discussions of when Vice President Pence would “fail.” ECF 97 at 11. The defendants were

focused on the election, they admitted that they wanted to stop the certification that day, and they

celebrated when they thought they achieved that precise goal. They were not obliviously present

at the Capitol, but had a sophisticated level of knowledge about the political process at work.

       To ask a jury to infer that these defendants, knowledgeable about the certification and

intending to stop it, also knew the most basic facts about the certification—i.e., that it involved the

certification of electoral votes or ballots—and understood that their actions would make those

ballots unavailable—is reasonable. To ask a juror to infer that these defendants, well aware of the

process and of the consequences of their actions, and euphoric about the results of their actions

(making the ballots unavailable to Congress) intended that result—is reasonable. Such an argument

does not base the defendants’ guilt on “mere presence” at the Capitol (ECF 118 at 3), but on these

defendants’ specific level of understanding, knowledge about the proceeding, admitted intent that

day, and the actions they took at the Capitol. The same argument likely might not be available to

the government had defendants not podcasted, not chatted, not fundraised, not scrawled “Murder

the Media” on the Memorial Door. But they did. Fischer does not affect every January 6 case in

every posture identically.




                                                37
        Case 1:21-cr-00073-BAH Document 121 Filed 09/09/24 Page 38 of 38




       The Court must ensure that “federal constitutional errors do not result in the incarceration

of innocent persons.” United States v. Baxter, 761 F.3d 17, 27–28 (D.C. Cir. 2014) (citation

omitted). Ochs and DeCarlo, who worked together on January 6 to intimidate Congress and attack

the police, all in service of their goal to stop the certification of the electoral ballots—fail to show

they belong in this category.

                                          CONCLUSION

       For the foregoing reasons, the government respectfully requests that the Court deny the

defendants’ motion to vacate their convictions under 28 U.S.C. § 2255.


                                                               Respectfully submitted,

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                                                 38
